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Byrd, CurtiS

 

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3.]'\1/\(3. DKT.I!)I~IF. NUMBER 4. I)IST. DKT.!'DEF, NUMBER

2:04-020241-00] -*B

5. APPEALS DKT.II)FIF. l\`UMBER

 

1. iN cAsi;/MATTF.R or s. PAYMENT cATEmRY
U.S. v. Byrd Felony

[Cas{' Nnme-]

 

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9. TYPE PERSON REPRESENTED

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Adult Defendant rimi§al

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W`T f""\t ah-

 

12. :iTTORNEY'S NAME (First Name. M.l., Liist Name, including ian_v sul`l'iit)
AND MAlLING ADDRESS

STENGEL, MlCHAEL .l.
SUlTE 850

50 N. FRONT STREET
MEMPHIS TN 38503

TElepliune l\`umher; §90] l 527'3535

  

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l'-lJiL;'Q
R Suhs Fnr Retailled A|torney

\' Stantl'bndunsel

ll CUURT ORDER

® 0 Appnintirtg Coultsel

[l F S\i'bs Fnr Federsl nefeiider
g P Si:bs For Fanel Altorne_v

Prior Attorney's Name:

 

Appnintmeril Date'.

 

l:l Beci\use the above-named person represented has testified under oath or has
otherwise satisfied this court that he or she (l) is tinanciolly unable to employ counsel and
(2] does not wish to waive counsel. and because the inter_c.sm-n|’justice so require. the

 

]4. NAME AND MAlLING ADDRESS UF LAW FlRM ifnn|,il provide perin.slructions)
MICHAEL .[. STENGEL PC
SUITE 999
50 N. FRONT STREET
MEMPHIS TN 33103

attorney whose name appears in item 11 ts appni afro represent this person in this case,
or _, -‘
s sss //NM/

.-- . worse ,&-»-»

Signature of Presiding Jiidit:ial Othcer or H_v Grder of the Court

06/')7/')0()4

Date nl`Order Nune Prn Tii nc Date
Repaymenl or partial repayment ordered from the person represented for this service at

 

 

 

   

time ofappointment. [] YES m NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

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15. a. Arraignment and/or Plea

b. Bail and Dctcntion Hearings

c. Motinn Hcarings
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§ f. Revocation Hcarings
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h. Other (Specify on additional sheets)

(Ratl: per hour = S } TUTALS:
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I'f. Travel Expenses (lodging. parkiog. meals, mileagel etc.)
18. Other Expenses (other than expert, transcripts, etc.)
‘ _ _ Gmmm.stct.imnmmnsm, »~!?z n
l9. CERTIFICAT]ON OF ATTORNEY!PAYEE FOR Tl'lE PERlOD O !" $ERVICE 20. APPO|NTMENT TERMINAT]ON I)ATE Il. CASE DlSPO S[TION
FROM To iF OTHER Tt-tAN CASECO.\tPLETioN

22. Cl.AIM STATUS |:] F‘inai raymem |___] interim payment J\‘umh¢r l:| supplemental l>ayment

Hiive vvot.i previously applied to the court for compensation and/or remimhursement for this cnse',’

g Y`ES l:l NO ll'yesl were you paid'.’ m YES :[ ,\lO

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representalinn? m YES m NO |l'}‘es‘ give details on additional sheets.
1 swear or affirm the truth or correctness of the above statements

Stglii\lurt: tJI` Al(r.irney:

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23. ll\l Ct)U]{T COMF.- 24. OUT ()F COUR'!` COMP. ZS. TRAVEL EXPENSES 26. OTHER EXPENSES Z‘l'. TOTM. Ah‘l'l”. AI'PR! CE”RT
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29. l.'\` C()URT COMP. 30. OL`T Ol-` COURT C()MP. 31. TRAVF,I. EXP|:`.NSES 32. OTHER EXPENSES 33. TOTAL AMT. APPRO\'ED

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approved in excess nfthe statutory threshold lmonn .

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DA'[`|:`. 342. JUDCE CCDE

 

 

 

 

Thls document entered

on the docket shea n cc)Orn`§lijancg
W'ith Rule 55 and.'or 32(b) FHCrP on l " l -'

 

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This notice confirms a copy of thc document docketed as number 97 in
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Honorablc J. Breen
US DISTRICT COURT

